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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA


RENATA SINGLETON ET AL.                               CIVIL ACTION


VERSUS                                                NO: 17-10721


LEON CANNIZZARO ET AL.                                SECTION: “H”


                                  ORDER
      Before the Court are Graymond Martin’s Motion for Summary Judgment
on Silence is Violence’s Claims against Graymond Martin (Doc. 267) and
Graymond Martin, Arthur Mitchell, and David Pipes’s Motion for Summary
Judgment on Renata Singleton’s Claims Against Individual Defendants (Doc.
279). On December 23, 2020, this Court granted Silence is Violence’s Motion
to Dismiss with Prejudice all Claims by Silence is Violence against all
Defendants in this matter (Doc. 309). On December 30, 2020 this Court granted
Renata Singleton’s Motion to Dismiss with Prejudice all Claims by Renata
Singleton against Arthur Mitchell, Tiffany Tucker, David Pipes, Graymond
Martin, and Leon Cannizzaro in his individual capacity. All claims at issue in
the aforementioned motions for summary judgment have been dismissed.
Accordingly,
      IT IS ORDERED that Graymond Martin’s Motion for Summary
Judgment on Silence is Violence’s Claims against Graymond Martin (Doc. 267)
and Graymond Martin, Arthur Mitchell, and David Pipes’s Motion for


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Summary Judgment on Renata Singleton’s Claims Against Individual
Defendants (Doc. 279) are DENIED AS MOOT.


          New Orleans, Louisiana this 4th day of January, 2021.




                                  ____________________________________
                                  JANE TRICHE MILAZZO
                                  UNITED STATES DISTRICT JUDGE
